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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00038-MCE
11
                                   Plaintiff,            ORDER SEALING DOCUMENTS AS SET FORTH
12                                                       IN GOVERNMENT’S NOTICE
                            v.
13
     BRIAN STONE,
14
                                  Defendant.
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19          Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
20 Request to Seal, IT IS HEREBY ORDERED that the Government’s Exhibit 4 to Government’s

21 Opposition to Defendant’s Motion for Compassionate Release pertaining to defendant Brian Stone, and

22 the Government’s Request to Seal shall be SEALED until further order of this Court.

23          It is further ordered that electronic access to the sealed documents shall be limited to the United
24 States and counsel for the defendant.

25          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
26 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

27 the Government’s Request, sealing the Governments’s Request and Exhibit 4 serves a compelling

28 interest. The Court further finds that, in the absence of closure, the compelling interests identified by the


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30    GOVERNMENT’S NOTICE
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 1 government would be harmed. In light of the public filing of its Notice to Seal, the Court further finds

 2 that there are no additional alternatives to sealing the Government’s Request and Exhibit 4 that would

 3 adequately protect the compelling interests identified by the government.

 4          IT IS SO ORDERED.

 5 Dated: May 26, 2020

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30    GOVERNMENT’S NOTICE
